Case 8:23-cv-00028-SDM-AAS Document 1-1 Filed 01/05/23 Page 1 of 4 PageID 20



                      PLAINTIFF’S EXHIBIT A
         Plaintiff’s Consumer Installment Loan Agreement, Excerpt




                                Page 20 of 23
Case 8:23-cv-00028-SDM-AAS Document 1-1 Filed 01/05/23 Page 2 of 4 PageID 21



                      PLAINTIFF’S EXHIBIT B
  Mr. Chapman’s Clarity Consumer Disclosure, October 25, 2022, Excerpt




                                Page 21 of 23
Case 8:23-cv-00028-SDM-AAS Document 1-1 Filed 01/05/23 Page 3 of 4 PageID 22



                      PLAINTIFF’S EXHIBIT B
  Mr. Chapman’s Clarity Consumer Disclosure, October 25, 2022, Excerpt




                                Page 22 of 23
Case 8:23-cv-00028-SDM-AAS Document 1-1 Filed 01/05/23 Page 4 of 4 PageID 23



                      PLAINTIFF’S EXHIBIT C
                   Bridgelendingsolution.com IP Address




                                Page 23 of 23
